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 UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON
                              AT SEATTLE



DIEDRA FUGATE,                                  JUDGMENT IN A CIVIL CASE

                    Plaintiff,                  CASE NUMBER: C10-1634 RSM

     v.

VANDENBERG, CHASE AND
ASSOCIATES, LLC,

                    Defendant.



  Jury Verdict. This action came before the Court for a trial by jury. The issues have been
  tried and the jury has rendered its verdict.

  Decision by Court. This action came to consideration before the Court. The issues have
  been considered and a decision has been rendered.

  THE COURT HAS ORDERED THAT the Clerk shall enter default judgment against
  Defendant Vandenberg, Chase and Associates, LLC in favor of plaintiff in the total
  amount of $7,287.50, comprised of an award of $3,500.00 in actual damages, $1,000.00
  in statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A), and $2,787.50 in
  attorney’s fees.




  Dated this 24th day of June 2011.

                                         William M. McCool
                                         Clerk

                                         s/Rhonda Stiles
                                         Deputy Clerk
